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IN THE UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF MISSISSIPPI

NORTHERN DIVISION
CARVIS LAMAR JOHNSON PLAINTIFF
v. CAUSE NO. 3:20cv009-KHJ-FKB
OFFICER JORDAN, et al DEFENDANTS

AGREED FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE

THIS CAUSE comes before the Court pursuant to FED. R. Civ. P. 41(a)(2), in which
Plaintiff, Carvis Lamar Johnson, requests that any and all claims against all Defendants in cause
numbers 3:20cv009, 3:20cv104, 3:20cv117, 3:20cv204, 3:20cv328, 3:20cv501, and 3:20cv600,
and consolidated into cause number 3:20cv009, be dismissed with prejudice. This Court, being
fully advised in the premises, finds that the terms of the dismissal are proper and hereby orders
that any and all claims against all Defendants in these consolidated causes of action are hereby
dismissed with prejudice.

IT IS, THEREFORE, ORDERED AND ADJUDGED, that any and all claims that were
or could have been included in Plaintiff's complaints in cause numbers 3:20cv009, 3:20cv104,
3:20cev117, 3:20cv204, 3:20cv328, 3:20cv501, and 3:20cv600 against all Defendants are dismissed
with prejudice, with each party to bear their respective attorneys’ fees, costs, and expenses.

This final judgment dismisses all claims in these consolidated causes of action such that
they may be finally closed on the Court’s docket.

SO ORDERED AND ADJUDGED, this the 2) day of Mar cA, 2023.

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AGREED TO AND REQUESTED BY:

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